                                                        Entered on Docket
                                                        September 15, 2017
                                                        EDWARD J. EMMONS, CLERK
                                                        U.S. BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA




 1    DEVIN DERHAM-BURK #104353
      CHAPTER 13 STANDING TRUSTEE
 2    P O BOX 50013                                The following constitutes
      SAN JOSE, CA 95150-0013                      the order of the court. Signed September 15, 2017
 3
      Telephone: (408) 354-4413
 4    Facsimile: (408) 354-5513                     ________________________________________
                                                    Stephen L. Johnson
                                                    U.S. Bankruptcy Judge
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 7
                                UNITED STATES BANKRUPTCY COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
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10
      In Re:                                            )        Chapter 13
11                                                      )
      DIRK HUGHES-HARTOGS                               )        Case No. 17-51711 SLJ
12                                                      )
                                                        )        ORDER OF DISMISSAL
13                                                      )        PRIOR TO CONFIRMATION
                                      Debtor            )
14

15    DEVIN DERHAM-BURK, Chapter 13 Trustee’s Declaration in Support of Dismissal for Failure
16    to Make First Plan Payment has been considered by the Court.
17

18    IT IS ORDERED that the above case is hereby dismissed and that any restraining orders
19    heretofore issued be dissolved.      After payment of allowed adequate protection payments,
20    administrative costs and fees, the Trustee shall return to the Debtor any remaining balance of debtor
21    funds on hand.
22    /
23    /
24    /
25    /
26

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 1    The Trustee shall submit at a later date, her Trustee’s Final Report and Account for approval by

 2    the Court.

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 4    Notice of the dismissal shall be served upon all parties by the Clerk of the Court

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 7                                       * * * END OF ORDER * * *

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                                    COURT SERVICE LIST


 Case Name: DIRK HUGHES-HARTOGS                                          Case No.: 17-51711 SLJ



 Registered ECF Participants will receive an electronically mailed copy of the foregoing document.

 Non-registered parties, and/or those not represented by a registered ECF participant:


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 P O BOX 40
 MORGAN HILL, CA 95038




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